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 1   CENTER FOR DISABILITY ACCESS
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 4
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 5
                               UNITED STATES DISTRICT COURT
 6                           NORTHERN DISTRICT OF CALIFORNIA
 7
 8   ORLANDO GARCIA,                              )   Case No.: 4:21-cv-09808-JSW
                                                  )
 9          Plaintiff,                            )   NOTICE OF SETTLEMENT AND
                                                  )   REQUEST TO VACATE ALL
10     v.                                         )   CURRENTLY SET DATES
     KAREN DOHERTY, in individual and             )
11   representative capacity as trustee under the))
     Karen Doherty Living trust dated
12   November 15, 2001;                           )
     CHEMPARATHY, INC., a California
13   Corporation
14            Defendants.
15
16          The plaintiff hereby notifies the court that a provisional settlement has been
17   reached in the above-captioned case. The Parties would like to avoid any additional
18   expense while they focus efforts on finalizing the terms of the settlement and reducing it
19   to a writing. The plaintiff, therefore, applies to this Honorable Court to vacate all
20   currently set dates with the expectation that the settlement will be consummated within
21   the coming sixty (60) days, allowing for a Joint Stipulation for Dismissal with prejudice
22   as to all parties to be filed.
23                                      CENTER FOR DISABILITY ACCESS
24   Dated: March 06,2022               By: /s/ Amanda Seabock
                                               Amanda Seabock
25
                                               Attorney for Plaintiff
26
27
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     Notice of Settlement             -1-           4:21-cv-09808-JSW
